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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *

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* CRIMINAL NO.: RDB-14-0186
RICHARD BYRD *

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MOTION TO MODIFY DEFENDANT’S DETENTION STATUS
Now comes the Defendant, Richard Byrd, by his attorney, David R. Solomon, Esquire,

and respectfully requests that his present detention status be modified and for reasons

therefore, states:

1) That the Defendant is pending trial in the above-captioned case which is scheduled
for September 12, 2016 at 9:30 a.m. before the Honorable Richard D. Bennett of the United
States District Court for the District of Maryland. Said trial is to last upwards of two (2) to three

(3) weeks.

2) That defendant has been detained since his arrest in the above-captioned matter.

3} That defendant has been detained at the Central Treatment Facility for some time
now and had been in the general population until or about March 30, 2016 when the United
States Attorney’s Office for the District of Maryland union arity placed him in lockdown.

4) That the United States Attorney's Office has maintained that the Defendant was
running a heroin ring in the Central Treatment Facility and that Mr. Byrd reached out to a
potential government witness in an effort to sway or intimate same. Undersigned counsel has
no information in that regard.

5) That undersigned counsel’s office spoke with Assistant Warden Fulton on May 17,
2016. Assistant Warden Fulton advised that David Ashton, Sr. of the United States Marshall’s
Office forwarded paperwork to the Central Treatment Facility demanding that he be placed in

lockdown status as of March 30, 2016. Undersigned counsel’s office also inquired of Assistant

 
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Warden Fulton as to why Mr. Byard was in lockdown status. He advised that he was not at
liberty to disclose that information and that any information in that regard had to be obtained
from Mr, Ashton,

6) On that same date, undersigned counsel's office called Mr. Ashton at 410-962-7561.
His voice mail indicated that it was full and could not accept messages. Again, on May 20, 2016
undersigned counsel’s office called Mr. Ashton at the aforesaid number with the same result.

7) On May 17, 2016, undersigned counsel's office called Chief Security Officer Miles at
the Central Treatment Facility and left a message on her voice mail to respond to our call. Later
that day, undersigned counsel’s office spoke with Chief Johnson at the Central Treatment
Facility and made inquiries as to Mr. Byrd's status. Her response was that jurisdiction over Mr.
Byrd was with the United States Marshall’s Office which had requested that he be placed in
segregation. She further indicated that the nature of the investigation was outside the ambit of
the Central Treatment Facility and that, to her knowledge, Mr. Byrd had not violated any rules
or regulations while at the Central Treatment Facility. She further added that she would not be
willing to put that in writing.

8) That on May 17, 2016, undersigned counsel’s office left a message with Warden
Peterson and requested that he return our call. Again, on May 20, 2016, undersigned counsel’s
office left a message on Warden Peterson's voice mail and requested that he return our call. At
the time of the filing of the hereinabove Motion, no calls have been returned.

9) That the Defendant is requesting a hearing on this matter to force the United States
Attorney’s Office to provide concrete and verifiable intelligence that Mr. Byrd has violated rules
and regulations at the Central Treatment Facility, to wit, that he has engaged in a heroin
distribution ring within the institution and/or that he had a role in reaching out to the as yet

unidentified witness.

 
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WHEREFORE, the Defendant respectfully requests:

a} That this matter be set in for an expeditious hearing; and,

we ~ :
Respectfully su ia \\
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BAVID R. SOLOMON, ESQ.
201 N. Charles St., Suite 1717
Baltimore, Maryland 21201
Phone No.: 410-244-8822
Fax No. : 410-625-1028

b) For such other and further relief as the cause of justice may require,

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 20 day of May, 2016, a copy of the foregoing
was electronically forwarded to: James G. Warwick, Esquire, Kenneth S. Clark, Esquire,

Assistant United States Attorneys, U.S. Department of Justice, 36 South Charles Streat, Fourth
Floor, Baltimore, Maryland 21201.

  

_DAAD R. SOLOMON, ESQ.

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *

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* CRIMINAL NO.: RDB-14-0186

RICHARD BYRD *
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ORDER
It is hereby ORDERED this day of , 2016, that Defendant's

 

Motion To Modify Defendant’s Detention Status, is hereby GRANTED/DENIED; and,
It is further ORDERED that the trial date in the above-captioned case be set in fora

Detention Hearing.

 

JUDGE RICHARD D. BENNETT
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 
